

Matter of Faith K. (Cindy R.) (2021 NY Slip Op 02920)





Matter of Faith K. (Cindy R.)


2021 NY Slip Op 02920


Decided on May 7, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, LINDLEY, TROUTMAN, AND BANNISTER, JJ.


395 CAF 20-00015

[*1]IN THE MATTER OF FAITH K. ONTARIO COUNTY DEPARTMENT OF SOCIAL SERVICES, CHILD PROTECTIVE UNIT, PETITIONER-RESPONDENT; CINDY R. AND JAMIE K., RESPONDENTS-APPELLANTS. (APPEAL NO. 2.)






PAUL B. WATKINS, FAIRPORT, FOR RESPONDENT-APPELLANT CINDY R.
MICHAEL J. PULVER, NORTH SYRACUSE, FOR RESPONDENT-APPELLANT JAMIE K.
HOLLY A. ADAMS, COUNTY ATTORNEY, CANANDAIGUA, FOR PETITIONER-RESPONDENT.
SUSAN E. GRAY, CANANDAIGUA, ATTORNEY FOR THE CHILD. 


	Appeals from an order of the Family Court, Ontario County (Frederick G. Reed, A.J.), entered December 16, 2019 in a proceeding pursuant to Family Court Act article 10. The order, among other things, continued the placement of the subject child with petitioner. 
It is hereby ORDERED that said appeals are unanimously dismissed without costs.
Same memorandum as in Matter of Faith K. ([appeal No. 1] — AD3d — [May 7, 2021] [4th Dept 2021]).
Entered: May 7, 2021
Mark W. Bennett
Clerk of the Court








